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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO,
 FRIENDSHIP WEST BAPTIST
 CHURCH, SOUTHWEST VOTER
 REGISTRATION EDUCATION
 PROJECT, TEXAS IMPACT, MEXICAN
 AMERICAN BAR ASSOCIATION OF
 TEXAS, TEXAS HISPANICS
 ORGANIZED FOR POLITICAL
 EDUCATION, JOLT ACTION,
 WILLIAM C. VELASQUEZ INSTITUTE,
 FIEL HOUSTON, INC., and JAMES
 LEWIN,

                Plaintiffs,                               Case No. 5:21-cv-844-XR

 v.

 THE STATE OF TEXAS, JANE
 NELSON, in her official capacity as the
 Texas Secretary of State, WARREN K.
 PAXTON, in his official capacity as the
 Texas Attorney General, MICHAEL
 SCARPELLO, in his official capacity as
 the Dallas County Elections Administrator,
 and LISA WISE, in her official capacity as
 the El Paso County Elections
 Administrator,

                Defendants.

          MOTION FOR ADMISSION PRO HAC VICE OF AARON J. CURTIS

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Aaron J. Curtis, applicant herein, and moves this Court to grant admission to

the United States District Court for the Western District of Texas pro hac vice to represent

Plaintiffs Friendship-West Baptist Church, Texas Impact, and James Lewin in this case, and

would respectfully show the Court as follows:
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        1.        I am an attorney and a member of the law firm Weil, Gotshal & Manges LLP with

offices at:

                  767 Fifth Avenue
                  New York, New York 10153
                  Telephone: (212) 310-8901

        2.        Since November 20, 2014, I have been and presently am a member of and in good

standing with the Bar of the Commonwealth of Massachusetts. My Massachusetts bar license

number is 691760. Since March 2, 2015, I have also been and presently am a member of and in

good standing with the Bar of the State of New York. My New York bar license number is

5332903.

        3.        I have been admitted to practice before the following courts:

                       Court of Admission                                 Date of Admission
             U.S. Court of Appeals for the Fifth Circuit                       7/17/2017
  U.S. District Court for the Southern District of New York                    1/24/2019
   U.S. District Court for the Eastern District of New York                    10/9/2019
         U.S. Court of Appeals for the Second Circuit                          1/27/2021
             U.S. Court of Appeals for the First Circuit                       2/8/2021
        U.S. District Court for the District of Colorado                       4/27/2022
          U.S. Court of Appeals for the Tenth Circuit                         12/27/2022

        4.        I am presently a member in good standing of the bar of the courts listed above.

        5.        I have not previously applied to appear pro hac vice in this District Court.

        6.        I have never been subject to grievance proceedings or involuntary removal

proceedings while a member of the bar of any state or federal court.

        7.        I have not been charged, arrested, or convicted of a criminal offense or offenses.

        8.        I have read and am familiar with the Local Rules of the Western District of Texas

and will comply with the standards of practice set out therein.



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         9.      I will file an Application for Admission to Practice before the United States

District Court for the Western District of Texas, if so requested; or I have co-counsel in this case

who is admitted to practice before the U.S. District Court for the Western District of Texas:

                 Elizabeth Y. Ryan
                 200 Crescent Court, Suite 300
                 Dallas, Texas 75201
                 Telephone: (214) 746-8158

         Should the Court grant this motion, I shall tender the amount of $100.00 pro hac vice fee

in compliance with Local Court Rule AT-l(f)(2), made payable to: Clerk, U.S. District Court.

         Wherefore, I pray that this Court enter an order permitting the admission of Aaron J.

Curtis to the Western District of Texas pro hac vice for this case only.




                                                                      York Bar No. 5332903
                                                 WEIL, GOTSHAL & MANGES LLP
                                                 767 Fifth Avenue
                                                 New York, New York 10153
                                                 Telephone: (212) 310-8901

                                   CERTIFICATE OF SERVICE

          I hereby certify that I have served a true and correct copy of this motion upon each

attorney of record and the original upon the Clerk of Court on this the 5th day of September,

 2023.




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